Case 1:20-cv-00705-CM Document 3 Filed 02/04/20 Page 1 of 10

Helen F. Dalton & Associates, P.C.
Roman Avshalumov (RA 5508)
80-02 Kew Gardens Road, Suite 601
Kew Gardens, NY 11415
Telephone: 718-263-9591

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

x
SEBASTIAN ABREU LOPEZ, individually and on behalf of all
others similarly situated,

 

Plaintiff COLLECTIVE ACTION
, COMPLAINT

-against-
JURY TRIAL

M&V INTERNATIONAL FOOD INC. d/b/a FOOD PALACE, = DEMANDED
and RAKHIL BESBROZZANNAYA, and MARINA
BESPROZVANNAYA, as individuals,

Defendants.

 

1. Plaintiff, SEBASTIAN ABREU LOPEZ, individually and on behalf of all others
similarly situated, (hereinafter referred to as "Plaintiff"), by his attorneys at Helen F.

Dalton & Associates, P.C., alleges, upon personal knowledge as to himself and upon

 

information and belief as to other matters, as follows: .
PRELIMINARY STATEMENT
2. Plaintiff, SEBASTIAN ABREU LOPEZ, individually and on behalf of all others
similarly situated, through undersigned counsel, brings this action against M&V
INTERNATIONAL FOOD INC. d/b/a FOOD PALACE, and RAKHIL
BESBROZZANNAYA, and MARINA BESPROZVANNAYA, as individuals,

(hereinafter referred to as "Defendants"), to recover damages for egregious violations

 

of state and federal wage and hour laws arising out of Plaintiff's employment at M&V
INTERNATIONAL FOOD INC. d/b/a FOOD PALACE, located at 4453 Broadway,
New York, New York 10040.

3. Asa result of the violations of Federal and New York State labor laws delineated

below, Plaintiff seeks compensatory damages and liquidated damages in an amount
10.

11,

12.

13.

Case 1:20-cv-00705-CM Document 3 Filed 02/04/20 Page 2 of 10

exceeding $100,000.00. Plaintiff also seeks interest, attorneys’ fees, costs, and all

other legal and equitable remedies this Court deems appropriate.

JURISDICTION AND VENUE
This Court has subject matter jurisdiction over Plaintiffs federal claims pursuant to
the FLSA, 29 U.S.C. §216 and 28 U.S.C. §1331.
This Court has supplemental jurisdiction over Plaintiffs state law claims pursuant to
28 U.S.C, §1367.
Venue is proper in the SOUTHERN District of New York pursuant to 28 U.S.C.
§1391(b) because a substantial part of the events or omissions giving rise to the
claims occurred in this district.
This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C.
§§2201 & 2202.

THE PARTIES

Plaintiff, SEBASTIAN ABREU LOPEZ, residing at 543 W 180th Street, New York,
New York, 10033, was employed from in or around June 2006 until in or around
October 2019 by Defendants at M&V INTERNATIONAL FOOD INC. d/b/a FOOD
PALACE, located at 4453 Broadway, New York, New York 10040.
Defendant, M&V INTERNATIONAL FOOD INC. d/b/a FOOD PALACE is a
corporation organized under the laws of New York.
Defendant, M&V INTERNATIONAL FOOD INC. d/b/a FOOD PALACE is a
corporation authorized to do business under the laws of New York.
Upon information and belief, Defendant, M&V INTERNATIONAL FOOD INC.
d/b/a FOOD PALACE is a corporation organized under the laws of New York with a
principal executive office at 4453 Broadway, New York, New York 10040
Upon information and belief, Defendant RAKHIL BESBROZZANNAYA owns and
operates M&V INTERNATIONAL FOOD INC. d/b/a FOOD PALACE.
Upon information and belief, Defendant, RAKHIL BESBROZZANNAYA, is an
agent of M&V INTERNATIONAL FOOD INC. d/b/a FOOD PALACE.
14.

15.

16.

17.

18.

19.

20.

21.

22.

23.

Case 1:20-cv-00705-CM Document 3 Filed 02/04/20 Page 3 of 10

Upon information and belief, Defendant, RAKHIL BESBROZZANNAYA, has power
over personnel decisions at M&V INTERNATIONAL FOOD INC. d/b/a FOOD
PALACE.

Upon information and belief, Defendant, RAKHIL BESBROZZANNAYA, has power
over payroll decisions at M&V INTERNATIONAL FOOD INC. d/b/a FOOD
PALACE and distributed pay to Plaintiff.

Defendant, RAKHIL BESBROZZANNAYA, has the power to hire and fire
employees at M&V INTERNATIONAL FOOD INC. d/b/a FOOD PALACE,
establish and pay their wages, set their work schedule, and maintains their
employment records.

During all relevant times herein, Defendant, RAKHIL BESBROZZANNAYA, was
Plaintiff's employer within the meaning of the FLSA and NYLL.

Upon information and belief, Defendant, MARINA BESPROZVANNAYA, owns and
operates M&V INTERNATIONAL FOOD INC. d/b/a FOOD PALACE.

Upon information and belief, Defendant, MARINA BESPROZVANNAYA, is an
agent of M&V INTERNATIONAL FOOD INC. d/b/a FOOD PALACE.

Upon information and belief, Defendant, MARINA BESPROZVANNAYA, has
power over personnel decisions at M&V INTERNATIONAL FOOD INC. d/b/a
FOOD PALACE.

Defendant, MARINA BESPROZVANNAYA, has the power to hire and fire
employees at M&V INTERNATIONAL FOOD INC. d/b/a FOOD PALACE,
establish and pay their wages, set their work schedule, and maintains their
employment records.

During all relevant times herein, Defendant, MARINA BESPROZVANNAYA, was
Plaintiff's employer within the meaning of the FLSA and NYLL.

Upon information and belief, M&V INTERNATIONAL FOOD INC. d/b/a FOOD
PALACE, is, at present and has been at all times relevant to the allegation in the
complaint, an enterprise engaged in interstate commerce within the meaning of the
FLSA in that the entity (i) has had employees engaged in commerce or in the

production of goods for commerce, and handle, sell or other wise work on goods or
24,

25.

26.

27.

28.

29,

30.

31,

32.

Case 1:20-cv-00705-CM Document 3 Filed 02/04/20 Page 4 of 10

material that have been moved in or produced for commerce by any person: and (ii)
has had an annual gross volume of sales of not less than $500,000.00.

At all times relevant to this action, Defendants were and are enterprises as defined in
Sec. 3(r) of the FLSA, 29 U.S.C. § 203().

At all times relevant to this action, Defendants were Plaintiffs employers as defined
by 29 U.S.C. § 203(d) and NYLL §§ 2(6), 190(3) and 651(6), and Defendants
employed and/or jointly employed Plaintiff.

FACTUAL ALLEGATIONS
Plaintiff, SEBASTIAN ABREU LOPEZ, was employed from in or around June 2006
until in or around October 2019 by Defendants at M&V INTERNATIONAL FOOD
INC. d/b/a FOOD PALACE.
During Plaintiff, SEBASTIAN ABREU LOPEZ’s employment by Defendants at the
above location, Plaintiff's primary duties were as a stocker, while performing other
miscellaneous duties.
Plaintiff, SEBASTIAN ABREU LOPEZ, was paid by Defendants approximately
$500.00 per week from in or around January 2014 until in or around December 2015.
Plaintiff, SEBASTIAN ABREU LOPEZ, was paid by Defendants approximately
$700.00 per week from in or around January 2016 until in or around October 2019.
Plaintiff worked approximately seventy-nine (79) hours or more per week during his
employment by Defendants from in or around January 2014 until in or around
October 2019.
Although Plaintiff, SEBASTIAN ABREU LOPEZ, worked approximately seventy-
nine (79) hours or more per week during his employment by Defendants from in or
around January 2014 until in or around October 2019, Defendants did not pay
Plaintiff time and a half (1.5) for hours worked over forty (40), a blatant violation of
the overtime provisions contained in the FLSA and NYLL.
Further more, Plaintiff, SEBASTIAN ABREU LOPEZ, worked approximately eleven
(11) or more hours per day, at least six (6) days a week from in or around January

2014 until in or around October 2019, Defendants did not pay Plaintiff an extra hour
33.

34.

35.

36.

37.

38.

39.

40.

Case 1:20-cv-00705-CM Document 3 Filed 02/04/20 Page 5 of 10

at the legally prescribed minimum wage for each day worked over ten (10) hours, a
blatant violation of the spread of hours provisions contained in the NYLL.

Upon information and belief, Defendants willfully failed to post notices of the
minimum wage and overtime wage requirements in a conspicuous place at the
location of their employment as required by both the NYLL and the FLSA.

Upon information and belief, Defendants willfully failed to keep payroll records as
required by both NYLL and the FLSA.

As a result of these violations of Federal and New York State labor laws, Plaintiffs
seek compensatory damages and liquidated damages in an amount exceeding
$100,000.00. Plaintiff also seeks interest, attorneys’ fees, costs, and all of his legal

and equitable remedies this Court deems appropriate.

COLLECTIVE ACTION ALLEGATIONS
Plaintiff brings this action on behalf of himself and other employees similarly situated
as authorized under the FLSA, 29 U.S.C. § 216(b). The employees similarly situated
are the collective class.
Collective Class: All persons who are or have been employed by the Defendants as
cleaners, stockers or similarly titled personnel with substantially similar job
requirements and pay provisions, who were performing the same sort of functions for
Defendants, other than the executive and management positions, who have been
subject to Defendants’ common practices, policies, programs, procedures, protocols
and plans including willfully failing and refusing to pay required overtime wage
compensation.
Upon information and belief, Defendants employed between 10 to 15 employees
within the past three years subjected to similar payment structures.
Upon information and belief, Defendants suffered and permitted Plaintiff and the
Collective Class to work more than forty hours per week without appropriate
overtime compensation or proper minimum wage compensation.

Defendants’ unlawful conduct has been widespread, repeated, and consistent.
41,

42.

43,

44,

4S.
46.

AT,

48.

49,

50.

Case 1:20-cv-00705-CM Document3 Filed 02/04/20 Page 6 of 10

Upon information and belief, Defendants had knowledge that Plaintiff and the
Collective Class performed work requiring overtime pay and proper minimum wage
cornpensation.

Defendants’ conduct as set forth in this Complaint, was willful and in bad faith, and
has caused significant damages to Plaintiff and the Collective Class.

Defendants are liable under the FLSA for failing to properly compensate Plaintiff and
the Collective Class, and as such, notice should be sent to the Collective Class. This
are numerous similarly situated current and former employees of Defendants who
have been denied overtime pay in violation of the FLSA and NYLL, who would
benefit from the issuance of a Court-supervised notice of the present lawsuit, and the
opportunity to join the present lawsuit. Those similarly situated employees are known
to Defendants and are readily identifiable through Defendants’ records,

The questions of law and fact common to the putative class predominate over any
questions affecting only individual members.

The claims of Plaintiff are typical of the claims of the putative class.

Plaintiff and his counsel will fairly and adequately protect the interests of the putative
class.

A collective action is superior to other available methods for the fair and efficient

adjudication of this controversy.

FIRST CAUSE OF ACTION

Overtime Wages Under The Fair Labor Standards Act
Plaintiff re-alleges and incorporates by reference all allegations in all preceding
paragraphs.
Plaintiff has consented in writing to be a party to this action, pursuant to 29 U.S.C.
§216(b).
At all times relevant to this action, Plaintiff was engaged in commerce or the
production of goods for commerce within the meaning of 29 U.S.C. §§206(a) and
207(a).
51.

52.

53.

54.

55.

56.

57.

58.

Case 1:20-cv-00705-CM Document 3 Filed 02/04/20 Page 7 of 10

At all times relevant to this action, Defendants were employers engaged in commerce
or the production of goods for commerce within the meaning of 29 U.S.C. §§206(a)
and 207(a).

Defendants willfully failed to pay Plaintiff overtime wages for hours worked in
excess of forty (40) hours per week at a wage rate of one and a half (1.5) times the
regular wage, to which Plaintiffs were entitled under 29 U.S.C. §§206(a) in violation
of 29 U.S.C. §207(a)(1).

Defendants’ violations of the FLSA as described in this Complaint have been willful
and intentional. Defendants have not made a good effort to comply with the FLSA
with respect to the compensation of the Plaintiff.

Due to Defendants’ FLSA violations, Plaintiff is entitled to recover from Defendants,
jointly and severally, their unpaid wages and an equal amount in the form of
liquidated damages, as well as reasonable attorneys fees and costs of the action,

including interest, pursuant to the FLSA, specifically 29 U.S.C. §216(b).

SECOND CAUSE OF ACTION

Overtime Wages Under New York Labor Law
Plaintiff re-alleges and incorporates by reference all allegations in all preceding
paragraphs.
At all times relevant to this action, Plaintiff was employed by Defendants within the
meaning of New York Labor Law §§2 and 651.
Defendants failed to pay Plaintiff overtime wages for hours worked in excess of forty
hours per week at a wage rate of one and a half (1.5) times the regular wage to which
Plaintiff was entitled under New York Labor Law §652, in violation of 12
N.Y.C.R.R. 137-1.3.
Due to Defendants’ New York Labor Law violations, Plaintiff is entitled to recover
from Defendants, jointly and severally, their unpaid overtime wages and an amount
equal to their unpaid overtime wages in the form of liquidated damages, as well as
reasonable attorneys’ fees and costs of the action, including interest in accordance

with NY Labor Law §198(1-a).
Case 1:20-cv-00705-CM Document3 Filed 02/04/20 Page 8 of 10

THIRD CAUSE OF ACTION
Spread of Hours Compensation Under New York Labor Law

59. Plaintiff re-alleges and incorporates by reference all allegations in all preceding
paragraphs.

60. Defendants willfully violated Plaintiff's rights by failing to pay Plaintiff an additional
hour of pay at minimum wage for each day worked more than ten (10) hours, in
violation of the New York Minimum Wage Act and its implementing regulations.
N.Y. Labor Law §§ 650 et seq.; 12 N.Y. C.R. R. § 142-2.4

61. Due to Defendants’ New York Labor Law violations, Plaintiff is entitled to recover
from Defendants his unpaid spread of hour compensation, reasonable attorneys’ fees,

and costs of the action, pursuant to N. Y. Labor Law § 663 (1).

FOURTH CAUSE OF ACTION
Violation of the Notice and Recordkeeping Requirements of the New York Labor Law

62. Plaintiff re-alleges and incorporates by reference all allegations in all preceding
paragraphs.

63. Defendants failed to provide Plaintiff with a written notice, in English and in Spanish
(Plaintiffs primary language), of their rate of pay, regular pay day, and such other
information as required by NYLL §195(1).

64. Defendants are liable to Plaintiff in the amount of $5,000.00 per Plaintiff, together

with costs and attorneys’ fees.

FIFTH CAUSE OF ACTION
Violation of the Wage Statement Requirements of the New York Labor Law
65. Plaintiff re-alleges and incorporates by reference all allegations in all preceding
paragraphs.
66. Defendants failed to provide Plaintiff with wage statements upon each payment of
wages, as required by NYLL §195(3)
67. Defendants are liable to Plaintiff in the amount of $5,000.00 per Plaintiff, together

with costs and attorneys’ fees.
Case 1:20-cv-00705-CM Document3 Filed 02/04/20 Page 9 of 10

PRAYER FOR RELIEF

Wherefore, Plaintiff respectfully request that judgment be granted:

a.

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure,
by jury on all questions of fact raised by the c

Dated: This oy a day of January 2020.

Declaring Defendants’ conduct complained herein to be in violation of the
Plaintiffs’ rights under the FLSA, the New York Labor Law, and its regulations;
Awarding Plaintiff unpaid overtime wages;

Awarding Plaintiff unpaid spread of hours compensation;

Awarding Plaintiff liquidated damages pursuant to 29 U.S.C. §216 and New
York Labor Law §§198(1-a), 663(1);

Awarding Plaintiff prejudgment and post-judgment interest;

Awarding Plaintiff the costs of this action together with reasonable attorneys’
fees; and

Awarding such and further relief as this court deems necessary and proper.

DEMAND FOR TRIAL BY JURY

dntiff demands a trial

  
    
 

plaint.

 

“Roman Avshalumov, Esq. (RA 5508)
Helen F. Dalton & Associates, PC
80-02 Kew Gardens Road, Suite 601
Kew Gardens, NY 11415
Telephone: 718-263-9591
Fax: 718-263-9598
Case 1:20-cv-00705-CM Document 3 Filed 02/04/20 Page 10 of 10

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SEBASTIAN ABREU LOPEZ, individually and on behalf of all others similarly situated,
Plaintiff,
-against-

M&V INTERNATIONAL FOOD INC. d/b/a FOOD PALACE., and RAKHIL
BESBROZZANNAYA, and MARINA BESPROZVANNAYA as individuals,

Defendants.

 

SUMMONS & COMPLAINT

 

HELEN F. DALTON & ASSOCIATES, P.C.
Attorneys for Plaintiffs
80-02 Kew Gardens Road, Suite 601
Kew Gardens, NY 11415
Phone (718) 263-9591
Fax (718) 263-9598

 

TO:

M&V INTERNATIONAL FOOD INC. d/b/a FOOD PALACE
4453 BROADWAY
NEW YORK, NEW YORK 10040

RAKHIL BESBROZZANNAYA
4453 BROADWAY
NEW YORK, NEW YORK 10040

MARINA BESPROZVANNAYA
4453 BROADWAY
NEW YORK, NEW YORK 10040

MARINA BESPROZVANNAYA

4407 BROADWAY
NEW YORK, NEW YORK 10040

10
